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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

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UNITED STATES OF AMERICA,
Nos. 97-20234
97-20235
97-20236
97-20237
97~20238
97~20239
97-20240
97-20441

Plaintiff,
`V.
EDDIE D. JETER,

Defendant.

`_¢A argus/vava

T|MIAS M. GOLB.D
CLEHK. U..S n'S"F"CT COUHT
W!D ""` ~; -‘ <_‘JPHIS
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ORDER GRANTING EXTENSION OF TIME TO SURRENDER

 

Before the Court is the Defendant's motion to continue his

surrender date (Defendant’s current surrender date is

September

6, 2005), filed September 2, 2005. The Defendant requests an

additional thirty (30) days in order to continue his recovery

from a recent heart catherization and to determine if

additional

heart surgery and possible eye surgery will be necessary.

The Defendant's motion is hereby GRANTED.

IT IS SO ORDERED THIS §§ DAY OF September, 2005.

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J P. MCCALLA

ITED STATES DISTRICT JUDGE

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Wlth Rule a emi "er 32( {b) FHCrP on________M__

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Notice of Distribution

This notice confirms a copy of the document docketed as number 172 in
case 2:97-CR-20236 Was distributed by faX, mail, or direct printing on
September 6, 2005 to the parties listed.

 

 

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Honorable .1 on McCalla
US DISTRICT COURT

